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     MT Picture Display Co., Ltd.
16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18

19   In re CATHODE RAY TUBE (CRT)                   Master Case No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION
20                                                  MDL No. 1917
21                                                  Individual Case No. 3:14-cv-02510
     This Document Relates to:
22                                                  [PROPOSED] ORDER GRANTING THE
     ViewSonic Corporation v. Chunghwa
     Picture Tubes, Ltd., et al., No. 3:14-cv-      PANASONIC DEFENDANTS’
23                                                  ADMINISTRATIVE MOTION TO FILE
     02510
                                                    UNDER SEAL
24

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     [PROPOSED] ORDER GRANTING THE PANASONIC DEFENDANTS’                   MDL No. 1917
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL                              Case No. 3:14-cv-02510
          Case 3:07-cv-05944-JST Document 2933 Filed 10/22/14 Page 2 of 2



 1             Upon consideration of the Panasonic Defendants’ Administrative Motion to File Under Seal

 2   Pursuant to Civil Local Rules 79-5(d) and 7-11, submitted in connection with their Reply in Support

 3   of Panasonic Defendants’ Motion to Dismiss and to Compel Arbitration against Plaintiff ViewSonic

 4   Corporation, it is hereby:

 5             ORDERED that the Administrative Motion to File Under Seal is GRANTED; and it is

 6   further

 7             ORDERED that the Clerk shall file and maintain under seal the following documents or

 8   portions of documents related to the Panasonic Defendants’ Administrative Motion to File Under

 9   Seal:
     Document                                              Sealed Portions (Page:Line)
10

11   Panasonic Defendants’ Reply in Support of             1:6-8, 15-17
     Panasonic Defendants’ Motion to Dismiss and to
12   Compel Arbitration                                    2:6-10

13                                                         3:7-28
14
                                                           4:1-7, 11-18
15
                                                           5:3-10, 12-13, 17, 23-28
16
                                                           6: 1-2, 8
17

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20   IT IS SO ORDERED
21

22             October 21, 2014
     Dated: ________________                                              __________________________
23                                                                              Hon. Samuel Conti
                                                                            United States District Judge
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                                                       2
     [PROPOSED] ORDER GRANTING THE PANASONIC DEFENDANTS’                         MDL No. 1917
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL                                    Case No. 3:14-cv-02510
